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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                                      Case No.: 0:17-cv-60665-UU
 MELVIS JUAN BERLANGA
 VILLEGAS, et al.,

                Plaintiffs,

 v.

 PAINTING FIRM, LLC, et al.,

                Defendants.                        /

                     ORDER ADOPTING MAGISTRATE’S REPORT
                   AND RECOMMENDATION AND DISMISSING CASE

        THIS CAUSE is before the Court sua sponte and upon Magistrate Judge O’Sullivan’s

 Order Approving Settlement Agreement and Recommending that the Case be Dismissed with

 Prejudice, D.E. 21.

        THE COURT has reviewed the pertinent portions of the record and is otherwise fully

 advised in the premises.

        On June 21, 2017, the Honorable John J. O’Sullivan, United States Magistrate Judge,

 issued an order following the settlement conference in this case, which: (1) approved the parties’

 settlement agreement under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”),

 pursuant to Lynn Food Stores v. United States, 679 F.2d 1350, 1352-1353 (11th Cir. 1982); and

 (2) recommended that the undersigned dismiss this case with prejudice, while retaining

 jurisdiction until August 21, 2017 to enforce the terms of the settlement. D.E. 21.

        The Court has made a review of the entire file and record herein and agrees with Judge

 O’Sullivan’s recommendation. Accordingly, it is
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         ORDERED AND ADJUDGED that the Report and Recommendation, D.E. 21, is

 RATIFIED, AFFIRMED and ADOPTED. It is further

         ORDERED AND ADJUDGED that this case is HEREBY DISMISSED WITH

 PREJUDICE. The Court shall retain jurisdiction until August 21, 2017 to enforce the terms of

 the settlement. It is further

         ORDERED AND ADJUDGED that the Clerk of Court SHALL administratively close

 this case. All future hearings are CANCELLED and all pending motions are DENIED AS

 MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this _22d_ day of June, 2017.

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                                                  URSULA UNGARO
                                                  UNITED STATES DISTRICT JUDGE
 cc: Counsel of Record
